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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

DEBORAH LAUFER, individually,
                                                              NOTICE OF SUPPLEMENTAL
                              Plaintiff,
                                                                    AUTHORITY
               -against-
                                                                 Civil Action No. 8:20-cv-357
                                                                          [BKS/ML]
7 HILLS HOTEL, LLC,

                              Defendant.


       Defendant 7 Hills Hotel, LLC hereby gives notice of legal authority relevant to this

litigation and, more specifically, to this Court’s pending inquiry into Plaintiff Deborah Laufer’s

standing (Dkt. No. 4).

       Recently, in Harty v. West Point Realty, Inc., No. 19-cv-8800, 2020 U.S. Dist. LEXIS

141893 (S.D.N.Y. Aug. 7, 2020), Judge Vincent Briccetti of the United States District Court for

the Southern District of New York issued an Order dismissing another ADA tester’s complaint for

lack of standing. A copy of that decision is attached hereto as Exhibit A. The conclusions and

analysis in the attached Harty decision directly relate to the issues in the Deborah Laufer cases

before this Court, and it also should be noted that the plaintiff in Harty was represented by the

same legal counsel representing Deborah Laufer in the cases before this Court.


Dated: October 9, 2020                       BARCLAY DAMON LLP
       Syracuse, New York

                                              By: __/s/ Anneliese R. Aliasso______
                                                   Robert J. Thorpe (517411)
                                                   Anneliese R. Aliasso (700385)

                                             Barclay Damon LLP
                                             125 East Jefferson Street
                                             Syracuse, New York 13202
                                             Telephone: (315) 425-2700
                                             Attorneys for Defendant


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     Caution
As of: October 7, 2020 6:27 PM Z


                                    Harty v. West Point Realty, Inc.
                           United States District Court for the Southern District of New York
                                   August 7, 2020, Decided; August 7, 2020, Filed
                                                   19 CV 8800 (VB)

Reporter
2020 U.S. Dist. LEXIS 141893 *


OWEN HARTY, individually, Plaintiff, v. WEST POINT           Opinion
REALTY, INC., a New York Corporation, Defendant.


                                                             OPINION AND ORDER
Subsequent History: Appeal filed, 08/11/2020                 Briccetti, J.:

                                                             Plaintiff Owen Harty brings this action against defendant
                                                             West Point Realty, Inc., alleging violations of Title III of
Prior History: Harty v. West Point Realty, Inc., 2020        the Americans with Disabilities Act, 42 U.S.C. §§ 12181
U.S. Dist. LEXIS 9227 (S.D.N.Y., Jan. 17, 2020)              et seq. ("ADA"), and the New York Human Rights Law,
                                                             N.Y. Exec. Law § 296(2)(a) ("NYHRL").

                                                             Now pending is defendant's motion to dismiss the
Core Terms                                                   complaint pursuant to Rules 12(b)(1) and 12(b)(6). (Doc.
                                                             #18).1
website, guest, accommodation, concrete, compliance,
hotel, disabilities, injunctive, online                      For the following reasons, the motion is GRANTED.


                                                             BACKGROUND
Counsel: [*1] For Owen Harty, individually, Plaintiff:
                                                             For the purpose of ruling on the motion to dismiss, the
Peter Erik Sverd, Law Offices of Peter Sverd, PLLC,
                                                             Court accepts as true all well-pleaded factual allegations
New York, NY.
                                                             in the complaint, and draws all reasonable inferences in
                                                             plaintiff's favor, as summarized below.
For West Point Realty, Inc., a New York corporation,
Defendant: Eunon Jason Mizrahi, Joshua Levin-Epstein,        Plaintiff, a Florida resident, is "unable to engage in the
Levin-Epstein & Associates, P.C., New York, NY.              major life activity of walking" and "bound to ambulate in


                                                             1 Defendant   filed its motion to dismiss on January 16, 2020. By
                                                             Order dated January 17, 2020, the Court instructed plaintiff to
Judges: Vincent L. Briccetti, United States District         notify the Court whether he intended to file an amended
Judge.                                                       complaint "to address the purported deficiencies made
                                                             apparent by the fully briefed arguments in defendant's motion,"
                                                             or rely on his original complaint. (Doc. #19). The Order noted
                                                             that if plaintiff elected not to file an amended complaint, the
                                                             Court would be unlikely to grant plaintiff a further opportunity
Opinion by: Vincent L. Briccetti
                                                             to amend the complaint. By letter dated January 27, 2020,
                                                             plaintiff advised the Court that he "will rely" on his original
                                                             complaint. (Doc. #22).

                                                  Anneliese Aliasso
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                                                                                                              Page 2 of 5
                                          2020 U.S. Dist. LEXIS 141893, *1

a wheelchair." (Doc. #1 ("Compl.") ¶ 1). According to         Specifically, plaintiff alleges customers may book
plaintiff, he "is an advocate of the rights of similarly      accommodations at the Holiday Inn though several
situated disabled persons and is a 'tester' [*2] for the      websites,     including     Expedia.com,  Hotels.com,
purposes of asserting his civil rights and monitoring,        Booking.com,           Priceline.com,     Orbitz.com,
ensuring, and determining whether places of public            Kayak.com, [*4] and Agoda.com. (Id.).
accommodation and their websites are in compliance
with the ADA." (Id. ¶ 2).                                     Plaintiff claims he visited the above-listed websites prior
                                                              to initiating this lawsuit "for the purpose of reviewing and
Plaintiff alleges defendant "owns, operates, . . . or         assessing the accessible features at the Property and
leases . . . a place of lodging known as Holiday Inn          [to] ascertain whether they meet the requirements of 28
Express West Point" ("Holiday Inn") in Fort Montgomery,       C.F.R. Section 36.302(e) and his accessibility needs."
New York. (Compl. ¶ 3). As a place of public                  (Compl. ¶ 10). He asserts he was unable to determine
accommodation, plaintiff claims defendant "is required        whether the Holiday Inn meets his accessibility needs
to comply with the ADA" and all promulgated regulations       because "Defendant failed to comply with the
effectuating same. (Id. ¶ 6). Plaintiff alleges 28 C.F.R. §   requirements set forth in 28 C.F.R. Section 36.302(e)."
36.302(e)(1) is one such regulation, which provides in        (Id.).
pertinent part:
     Reservations made by places of lodging. A public         Plaintiff further alleges that in the near future he "intends
     accommodation that owns, leases (or leases to), or       to revisit Defendant's website and/or online reservation
     operates a place of lodging shall, with respect to       system in order to test it for compliance with 28 C.F.R.
     reservations made by any means, including by             Section 36.302(e) and/or . . . to reserve a guest room
     telephone, in-person, or through a third party—          and otherwise avail himself of the goods, services,
     (i) Modify its policies, practices, or procedures to     features,      facilities,  benefits,    advantages,      and
     ensure that individuals with disabilities can make       accommodations of the Property." (Compl. ¶ 11).
     reservations for accessible guest rooms during the
                                                              As a result of defendant's alleged failure to comply with
     same hours and in the same manner as individuals
                                                              the requirements of Section 36.302(e), plaintiff asserts
     who do not need accessible rooms;
                                                              he "suffered, and continues to suffer, frustration and
    (ii) Identify and describe accessible features in the     humiliation," a "sense of isolation and segregation," and
    hotels and guest rooms offered through its                is "deprived of the same advantages, privileges, goods,
    reservation [*3] service in enough detail to              services and benefits readily available to the general
    reasonably permit individuals with disabilities to        public." (Compl. ¶ 13). Plaintiff seeks declaratory and
    assess independently whether a given hotel or             injunctive [*5] relief, attorneys' fees and costs, and
    guest room meets his or her accessibility needs;          compensatory damages.
    (iii) Ensure that accessible guest rooms are held for
    use by individuals with disabilities until all other
    guest rooms of that type have been rented and the         DISCUSSION
    accessible room requested is the only remaining
    room of that type;                                        I. Legal Standards
    (iv) Reserve, upon request, accessible guest rooms
    or specific types of guest rooms and ensure that the
    guest rooms requested are blocked and removed             A. Rule 12(b)(1)
    from all reservations systems; and
    (v) Guarantee that the specific accessible guest          "[F]ederal courts are courts of limited jurisdiction and
    room reserved through its reservations service is         lack the power to disregard such limits as have been
    held for the reserving customer, regardless of            imposed by the Constitution or Congress." Durant,
    whether a specific room is held in response to            Nichols, Houston, Hodgson & Cortese-Costa, P.C. v.
    reservations made by others.                              Dupont, 565 F.3d 56, 62 (2d Cir. 2009).2 "A case is
                                                              properly dismissed for lack of subject matter jurisdiction
Plaintiff asserts defendant "either itself or by and
through a third party, implemented, operates, controls
and or maintains a website for the Property which
                                                              2 Unless  otherwise indicated, case quotations omit all internal
contains an online reservations system." (Compl. ¶ 9).
                                                              citations, quotations, footnotes, and alterations.

                                                   Anneliese Aliasso
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under Rule 12(b)(1) when the district court lacks the               Spokeo, Inc. v. Robins, 136 S. Ct. at 1549). Indeed,
statutory or constitutional power to adjudicate it." Nike,          "Article III standing requires a concrete injury even in the
Inc. v. Already, LLC, 663 F.3d 89, 94 (2d Cir. 2011). A             context of a statutory violation." Kelen v. Nordstrom,
court lacks the judicial power to hear a party's claims             Inc., 259 F. Supp. 3d 75, 79 (S.D.N.Y. 2016) (quoting
when the party does not have standing. Hillside Metro               Spokeo, Inc. v. Robins, 136 S. Ct. at 1549). Thus, a
Assocs., LLC v. JPMorgan Chase Bank, Nat'l Ass'n, 747               plaintiff cannot "allege a bare procedural violation,
F.3d 44, 48 (2d Cir. 2014). "When the Rule 12(b)(1)                 divorced from any concrete harm, and satisfy the injury-
motion is facial, i.e., based solely on the allegations of          in-fact requirement of Article III." Spokeo, Inc. v. Robins,
the complaint . . . , the plaintiff has no evidentiary              136 S. Ct. at 1549.
burden" and "[t]he task of the district court is to
determine whether the [complaint] alleges facts that                "Moreover, a plaintiff seeking injunctive relief cannot rely
affirmatively and plausibly suggest that the plaintiff has          only on past injury to satisfy the injury requirement but
standing to sue." Carter v. HealthPort Techs., LLC, 822             must show a likelihood of future harm." Harty v. Simon
F.3d 47, 56 (2d Cir. 2016).                                         Prop. Grp., L.P., 428 F. App'x 69, 71 (2d Cir. 2011)
                                                                    (summary [*7] order).
When deciding whether subject matter jurisdiction exists
                                                                    Standing exists in the ADA context:
at the pleading stage, the Court "must accept as true all
                                                                        where (1) the plaintiff alleged past injury under the
material facts alleged in the complaint." Conyers v.
                                                                        ADA; (2) it was reasonable to infer that the
Rossides, 558 F.3d 137, 143 (2d Cir. 2009). "However,
argumentative inferences favorable to the party                         discriminatory treatment would continue; and (3) it
asserting jurisdiction should not be drawn." Buday v.                   was reasonable to infer, based on the past
N.Y. Yankees P'ship, 486 F. App'x 894, 895 (2d Cir.                     frequency of plaintiff's visits and the proximity of
                                                                        defendants' [public accommodation] to plaintiff's
2012) (summary order).
                                                                        home, that plaintiff intended to return to the subject
When a defendant moves to dismiss for lack of subject                   location.
matter jurisdiction and on other grounds, the court [*6]
                                                                    Kriesler v. Second Ave. Diner Corp., 731 F.3d 184, 187-
should resolve the Rule 12(b)(1) challenge first. Rhulen
                                                                    88 (2d Cir. 2013). Indeed, "[c]ourts considering ADA
Agency, Inc. v. Ala. Ins. Guar. Ass'n, 896 F.2d 674, 678
(2d Cir. 1990).                                                     claims have found that disabled plaintiffs who had
                                                                    encountered barriers [to access] . . . prior to filing their
II. Subject Matter Jurisdiction                                     complaints have standing to bring claims for injunctive
                                                                    relief if they show a plausible intention or desire to
Defendant argues the complaint's allegations, even                  return to the place but for the barriers to access."
accepted as true, fail to establish the existence of a real         Disabled in Action of Metro. N.Y. v. Trump Int'l Hotel &
threat of future injury, and therefore plaintiff fails to           Tower, 2003 U.S. Dist. LEXIS 5145, 2003 WL 1751785,
establish Article III standing.                                     at *7 (S.D.N.Y. Apr. 2, 2003).
The Court agrees.                                                   "Whether an ADA plaintiff intends to return to a place of
A. Standing                                                         accommodation is a fact-specific inquiry." Laufer v.
                                                                    Laxmi & Sons, LLC, 2020 U.S. Dist. LEXIS 79545, 2020
"The 'irreducible constitutional minimum' of standing in            WL 2200207, at *2 (N.D.N.Y. May 6, 2020). Accordingly,
federal court requires: (1) 'injury in fact'; (2) that is 'fairly   to "maintain an ADA cause of action seeking injunctive
traceable' to a defendant's challenged conduct; and (3)             relief to prevent future injury, a plaintiff must allege facts
that is 'likely to be redressed' by a favorable decision."          giving rise to an inference that he will suffer future
Mejia v. Time Warner Cable Inc., 2017 U.S. Dist. LEXIS              discrimination by the defendant." Shaywitz v. Am. Bd. of
120445, 2017 WL 3278926, at *7 (S.D.N.Y. Aug. 1,                    Psychiatry & Neurology, 675 F. Supp. 2d 376, 382
2017) (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555,            (S.D.N.Y. 2009). Such threat of future injury must be
560-61, 112 S. Ct. 2130, 119 L. Ed. 2d 351 (1992)). "To             "real and immediate," as opposed to "merely conjectural
support standing, an injury must be both 'concrete and              or hypothetical." Id.
particularized.'" Id. (quoting Spokeo, Inc. v. Robins, 136
                                                                    B. Application
S. Ct. 1540, 1548, 194 L. Ed. 2d 635 (2016)). "A 'bare'
statutory violation is insufficient to confer constitutional        Plaintiff fails adequately to allege [*8] a real threat of
standing absent some 'concrete' harm." Id. (citing                  future injury sufficient to establish Article III standing. He


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alleges he visited the subject websites' online                 demonstrate standing to seek injunctive relief.
reservation systems solely to test for compliance with
                                                                C. Additional Allegations
the ADA and its accompanying regulations. He further
alleges:                                                        In response to defendant's motion to dismiss, plaintiff
                                                                submitted a declaration containing a plethora of
   In the near future, [he] intends to revisit Defendant's      additional facts not included in his complaint. For
   website[s] and/or online reservations system[s] in           example, plaintiff asserts in his declaration that he: (i)
   order to test if for compliance with 28 C.F.R.               has family near the Holiday Inn whom he frequently
   Section 36.302(e) and/or to utilize the website to           visits; (ii) plans to visit the area near in the Holiday Inn
   reserve a guest room and otherwise avail himself of          during the summer of 2020; (iii) must stay in a hotel
   the goods, services, features, facilities, benefits,         when he visits family in the area; and (iv) typically looks
   advantages, and accommodations of the Property.              for certain accommodations in lodging—"handicap
(Compl. ¶ 11).                                                  parking spaces, accessible routes, registration
                                                                counter[s], any common area facilities such as
First, plaintiff's claim that he intends to visit the website   restrooms, guest room features such as grab bars, roll-
"in the near future," and thus will again be harmed by          in showers, peep holes, maneuvering devices,
defendants' alleged failure to comply with 28 C.F.R. §          commodes, sinks, door ways, etc." (Doc. #24-1 at 1-2).
36.302(e)(1), is vague and conclusory. The complaint's
allegations, taken as true, suggest only that plaintiff         But defendant's motion to dismiss comprises a facial
intends to return to the online reservation systems to          challenge to the Court's subject matter jurisdiction.
test for statutory violations of the ADA vis-à-vis 28           Because the motion is "based solely on the allegations
C.F.R. § 36.302(e)(1). This is because plaintiff claims in      of the complaint . . . , the plaintiff has no evidentiary
conclusory fashion that he might return to the websites         burden" and "[t]he task of the district court is to
to book lodging, and fails to allege factual allegations        determine whether the [complaint] alleges facts that
upon which the Court can reasonably infer plaintiff             affirmatively and plausibly suggest that [*11] the
intends to return to the websites to book a [*9] room or        plaintiff has standing to sue." Carter v. HealthPort
utilize defendant's services—facts that would support an        Techs., LLC, 822 F.3d at 56. Plaintiff is represented by
inference of a particularized and concrete injury, and          counsel in this matter and thus "is not entitled to any of
real threat of future harm. What remains are plaintiff's        the latitude afforded to pro se litigants in adjudicating a
allegations that he plans to visit websites, to test those      motion to dismiss." Harty v. Nyack Motor Hotel, Inc.,
websites for ADA compliance, and that defendant's               2020 U.S. Dist. LEXIS 40429, 2020 WL 1140783, at *3
alleged violations of the ADA's regulatory framework vis-       (S.D.N.Y. Mar. 9, 2020) (emphasis added). Indeed,
à-vis those websites will cause him injury. As noted            "counseled plaintiffs may not 'use their opposition to [a]
above, allegations of "a bare procedural violation,             motion to dismiss to raise new claims or arguments.'" Id.
divorced from any concrete harm," cannot "satisfy the           (quoting Chamberlain v. City of White Plains, 986 F.
injury-in-fact requirement of Article III." See Spokeo, Inc.    Supp. 2d 363, 390 n.19 (S.D.N.Y. 2013)) (alteration in
v. Robins, 136 S. Ct. at 1549. Plaintiff's allegations are      original). Furthermore, plaintiff had an opportunity to
just that.                                                      amend his complaint "to address the purported
                                                                deficiencies made apparent by the fully briefed
Second, the complaint's allegations do not "show
                                                                arguments in defendant's motion," (Doc. #19), but
[plaintiff's] plausible intention or desire to return [to the
                                                                elected not to do so. For these reasons, the Court
websites] but for the [alleged] barriers to access." See
                                                                declines to consider plaintiff's new, improper allegations
Disabled in Action of Metro. N.Y. v. Trump Int'l Hotel &
                                                                raised for the first time in opposition to the motion.
Tower, 2003 U.S. Dist. LEXIS 5145, 2003 WL 1751785,
at *7. Here, plaintiff affirmatively alleges his intent to      In short, the bare allegations of the complaint do not
return to the subject websites—to test for compliance           meet the minimum requirements of Article III standing.
with the ADA—despite alleged barriers to access. In             Indeed, plaintiff's spartan assertions stand in stark
other words, plaintiff intends to revisit the subject           contrast to allegations made in similar ADA cases
websites to test for ADA compliance but fails to set forth      involving deficient website information, in which
any allegations suggesting his ability to do so is              concrete injury was sufficiently alleged. For example, in
somehow impeded by defendant's conduct or failure to            Juscinska v. Paper Factory Hotel, LLC, a plaintiff with
comply with the ADA and its accompanying regulations.           cerebral palsy plausibly alleged in her amended
For this additional [*10] reason, plaintiff fails to            complaint a concrete injury predicated [*12] on a

                                                    Anneliese Aliasso
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defendant hotel's failure to comply with 28 C.F.R.                III. State Law Claims
36.302(e)(1). 2019 U.S. Dist. LEXIS 92550, 2019 WL
2343306, at * 1 (S.D.N.Y. June 3, 2019). There, the               A district court may decline to exercise supplemental
plaintiff plausibly alleged that while arranging                  jurisdiction over state law claims when it "has dismissed
accommodations for an upcoming vacation, she was                  all claims over which it has original jurisdiction." 28
unable to reserve lodging at the defendant's hotel due to         U.S.C. § 1367(c)(3); Kolari v. New York-Presbyterian
an absence of sufficient accessibility information on the         Hosp., 455 F.3d 118, 122 (2d Cir. 2006).
hotel's website. (Id.). The plaintiff alleged particular
issues with the website, what information was lacking,            Having found plaintiff lacks standing to bring his federal
and what accessibility information, if given, would have          ADA claim, the Court declines to exercise its
helped her make an informed booking decision. (Id.).              supplemental jurisdiction over plaintiff's NYHRL claim.
                                                                  IV. Leave to Amend [*14]
In another recent case, Camacho v. Vanderbilt
University, a court concluded that a disabled plaintiff           Rule 15(a)(2) of the Federal Rules of Civil Procedure
alleged a concrete injury by claiming he wished to                instructs that courts "should freely give leave" to amend
attend a four-year college, visited the defendant                 a complaint "when justice so requires." Following receipt
university's website to obtain accessibility information,         of the instant motion to dismiss, plaintiff declined to
but was precluded from obtaining such information                 amend his complaint. Moreover, plaintiff has not
because the defendant's website was not ADA-                      requested an opportunity to amend his complaint.
compliant. 2019 U.S. Dist. LEXIS 209202, 2019 WL                  Accordingly, the interests of justice do not so require
6528974, at *10 (S.D.N.Y. Dec. 4, 2019). The court                granting plaintiff an additional opportunity to amend his
determined the plaintiff plausibly alleged a real threat of       complaint.
future harm because he intended to return to the
school's website to "learn more about [the school], and
then make an informed choice regarding" whether it                CONCLUSION
would be worth visiting the school in person." 2019 U.S.
Dist. LEXIS 209202, [WL] at *11. In other words, the              The motion to dismiss is GRANTED.
plaintiff alleged more than a mere intent to visit the
school's [*13] website to test it for statutory compliance;       The Clerk is instructed to terminate the motion (Doc.
he wished to utilize the website to determine whether             #18) and close this case.
the school would be worth visiting.
                                                                  Dated: August 7, 2020
Here, unlike Juscinska and Camacho, plaintiff does not
                                                                  White Plains, NY
adequately plead a concrete and particularized injury
predicated on defendant's alleged failure to comply with          SO ORDERED:
28 C.F.R. 36.302(e)(1). And his status as a "tester,"
alone, does not sufficiently establish an adequate basis          /s/ Vincent L. Briccetti
for Article III standing. See Feltzin v. Stone Equities,
LLC, 2018 U.S. Dist. LEXIS 22870, 2018 WL 1115135,                Vincent L. Briccetti
at *9 (E.D.N.Y. Feb. 8, 2018) ("While it is unclear
                                                                  United States District Judge
whether the Second Circuit has fully embraced 'tester'
status (i.e., an individual who seeks out and sues
businesses for alleged violations of the ADA) as a basis            End of Document
for Article III standing, it is clear that an ADA 'tester'
must still satisfy the Article III standing prerequisites.").

For the reasons set forth above, plaintiff fails adequately       28 C.F.R. 36.302(e)(1). Plaintiff just has not done so here.
to allege standing to maintain his ADA claim.3
                                                                  Because the Court lacks subject matter jurisdiction over
                                                                  plaintiff's ADA claim, it need not, nor can it, consider
                                                                  defendant's Rule 12(b)(6) arguments. See Bell v. Hood, 327
3 This is not to say plaintiff generally cannot demonstrate       U.S. 678, 682, 66 S. Ct. 773, 90 L. Ed. 939 (1946) (noting a
standing to enforce the prescriptions of the ADA and its          motion to dismiss for failure to state a claim may be decided
accompanying regulations, including the directives set forth in   only after a finding of subject matter jurisdiction).

                                                      Anneliese Aliasso
